


TERRY DON CLARKSON V. STATE OF TEXAS



NO. 07-03-0191-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JUNE 24, 2003



______________________________




TERRY DON CLARKSON, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 181ST DISTRICT COURT OF POTTER COUNTY;



NO. 45,784-B; HONORABLE RICHARD DAMBOLD, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

ABATEMENT AND REMAND


	On April 25, 2003, a copy of a Notice of Appeal in cause No. 45,784-B in the 181st
District Court of Potter County, Texas (the trial court), was filed with the clerk of this court
(the appellate clerk).  The document, filed with the District Clerk of Potter County (the trial
court clerk) on April 23, 2003,  gives notice that Terry Don Clarkson desires to appeal from
a conviction in such court and cause number.  On June 20, 2003, a docketing statement
was filed with the appellate clerk which sets out that the appeal is from a judgment or order
dated March 21, 2003.

	On June 18, 2003, a second request for extension of time for filing the clerk's record
was filed with the appellate clerk.  By such request, the trial court clerk advised that the
clerk's record has not been paid for and no arrangements have been made to pay for the
record.  The date for filing the clerk's record has been extended.  The docketing statement
also indicates that an affidavit of indigency will be filed, but the appellate clerk has
received no such affidavit.  

	Accordingly, this appeal is abated and the cause is remanded to the trial court. 
Tex. R. App. P. 37.3(a)(2).  Upon remand, the judge of the trial court is directed to
immediately cause notice to be given of and to conduct a hearing to determine: (1) whether
appellant desires to prosecute this appeal; (2) if appellant desires to prosecute this appeal,
then whether appellant is indigent; (3) if appellant desires to prosecute this appeal,
whether appellant is entitled to have the clerk's and reporter's records furnished without
charge;  (4) what orders, if any, should be entered to assure the filing of appropriate
notices and documentation to dismiss appellant's appeal if appellant does not desire to
prosecute this appeal, or, if appellant desires to prosecute this appeal, to assure that the
clerk's and reporter's records will be promptly filed and that the appeal will be diligently
pursued, and 5) whether counsel should be appointed to represent appellant on appeal. 
 If the trial court determines that an attorney for appellant should be appointed, the court
should cause the clerk of this court to be furnished the name, address, and State Bar of
Texas identification number of the appointed attorney. 

	The trial court is directed to: (1) make and file appropriate findings of fact,
conclusions of law and recommendations, and cause them to be included in a clerk's
record on remand; (2) enter any orders appropriate to the circumstances; (3) cause the
hearing proceedings to be transcribed and included in a reporter's record; and (4) have
a record of the proceedings made to the extent any of the proceedings are not included
in the supplemental clerk's record or the reporter's record.  In the absence of a request for
extension of time from the trial court, the clerk's record on remand, reporter's record of the
hearing and proceedings pursuant to this order, and any additional proceeding records,
including any orders, findings, conclusions and recommendations, are to be sent so as to
be received by the clerk of this court not later than July 25, 2003. 	

	

									Per Curiam

Do not publish.




